                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ROGER B. SIPPEY,                                  )
                                                  )
                            Plaintiff,            )
                                                  )
                                                  )       Case No. 18-cv-6744
                                                  )
       v.                                         )       Hon. Sheila M. Finnegan
                                                  )
COOPER TECHNICA, INC., and COOPER                 )
TECHNICA LIMITED PARTNERSHIP #2,                  )
                                                  )
                            Defendants.           )

                              CERTIFICATE OF SERVICE

       I, the undersigned, an attorney, state that I caused to be served the enclosed CITATION

TO DISCOVER ASSETS TO A THIRD PARTY and NOTICE OF CITATION TO

DISCOVER ASSETS TO A THIRD PARTY on the parties listed below by First Class U.S.

Mail on the 19th day of March 2021.

                            Parties Served First Class U.S. Mail

                 David G. Harding               Cooper Technica, Inc.
                 Attorney & Counselor           19235 84th Street
                 P.O. Box 405                   Bristol, WI 53104 USA
                 Palatine, IL 60078

Dated: March 24, 2021                                    /s/ Amrit S. Kapai
                                                          Amrit S. Kapai

                                                        Dan C. Curth
                                                        Amrit S. Kapai
                                                        Goldstein & McClintock LLLP
                                                        111 W. Washington St., Suite 1221
                                                        Chicago, Illinois 60602
                                                        (312) 377-7700
                                                        amritk@goldmclaw.com
                                                        Counsel to Plaintiff/Judgment
                                                        Creditor
                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ROGER B. SIPPEY,                                      )
                                                      )
                              Plaintiff,              )
                                                      )
                                                      )       Case No. 18-cv-6744
                                                      )
       v.                                             )       Hon. Sheila M. Finnegan
                                                      )
COOPER TECHNICA, INC., and COOPER                     )
TECHNICA LIMITED PARTNERSHIP #2,                      )
                                                      )
                              Defendants.             )

        NOTICE OF CITATION TO DISCOVER ASSETS TO A THIRD PARTY

United States District Court for the Northern District of Illinois,
219 S. Dearborn St., Chicago, IL 60604

Name of Case: Roger B. Sippey (Judgment Creditor) v. Cooper Technica, Inc. and Cooper
Technica Limited Partnership #2 (Judgment Debtors)

Address of Judgment Debtor: 19235 84th Street, Bristol, WI 53104

Name and address of Attorney for Judgment Creditor:

Amrit S. Kapai, Goldstein & McClintock LLLP,
111 W. Washington St., Suite 1221, Chicago, IL 60602

Amount of Judgment: $159,096.55

Name of Person Receiving Citation: BMO Harris Bank N.A.

Date and Time: April 5, 2021 at 10:00 am at 111 W. Washington St., Suite 1221, Chicago, IL
60602

       NOTICE: The court has issued a citation against the person named above. The citation

directs that person to appear in court to be examined for the purpose of allowing the judgment

creditor to discover income and assets belonging to the judgment debtor or in which the judgment

debtor has an interest. The citation was issued on the basis of a judgment against the judgment
debtor in favor of the judgment creditor in the amount stated above. On or after the court date

stated above, the court may compel the application of any discovered income or assets toward

payment on the judgment.

      The amount of income or assets that may be applied toward the judgment is limited by

federal and Illinois law. The JUDGMENT DEBTOR HAS THE RIGHT TO ASSERT

STATUTORY EXEMPTIONS AGAINST CERTAIN INCOME OR ASSETS OF THE

JUDGMENT DEBTOR WHICH MAY NOT BE USED TO SATISFY THE JUDGMENT IN

THE AMOUNT STATED ABOVE:

      (1)     Under Illinois or federal law, the exemptions of personal property owned by the

      debtor include the debtor's equity interest, not to exceed $4,000 in value, in any personal

      property as chosen by the debtor; Social Security and SSI benefits; public assistance

      benefits; unemployment compensation benefits; worker's compensation benefits;

      veteran's benefits; circuit breaker property tax relief benefits; the debtor's equity interest,

      not to exceed $2,400 in value, in any one motor vehicle, and the debtor's equity interest,

      not to exceed $1,500 in value, in any implements, professional books, or tools of the

      trade of the debtor.

      (2)     Under Illinois law, every person is entitled to an estate in homestead, when it is

      owned and occupied as a residence, to the extent in value of $15,000, which homestead

      is exempt from judgment.

      (3)     Under Illinois law, the amount of wages that may be applied toward a judgment

      is limited to the lesser of (i) 15% of gross weekly wages or (ii) the amount by which

      disposable earnings for a week exceed the total of 45 times the federal minimum hourly

      wage or, under a wage deduction summons served on or after January 1, 2006, the




                                                     2
       Illinois minimum hourly wage, whichever is greater.

       (4)     Under federal law, the amount of wages that may be applied toward a judgment

       is limited to the lesser of (i) 25% of disposable earnings for a week or (ii) the amount by

       which disposable earnings for a week exceed 30 times the federal minimum hourly

       wage.

       (5)     Pension and retirement benefits and refunds may be claimed as exempt under

       Illinois law.

The judgment debtor may have other possible exemptions under the law.

       THE JUDGMENT DEBTOR HAS THE RIGHT AT THE CITATION HEARING TO

DECLARE EXEMPT CERTAIN INCOME OR ASSETS OR BOTH. The judgment debtor also

has the right to seek a declaration at an earlier date, by notifying the clerk in writing at (insert

address of clerk). When so notified, the Clerk of the Court will obtain a prompt hearing date from

the court and will provide the necessary forms that must be prepared by the judgment debtor or

the attorney for the judgment debtor and sent to the judgment creditor and the judgment creditor's

attorney regarding the time and location of the hearing. This notice may be sent by regular first

class mail.

Dated: March 15, 2021                                      By: /s/ Amrit S. Kapai

                                                           Dan C. Curth
                                                           Amrit S. Kapai
                                                           Goldstein & McClintock LLLP
                                                           111 W. Washington St., Suite 1221
                                                           Chicago, Illinois 60602
                                                           (312) 377-7700
                                                           amritk@goldmclaw.com

                                                           Counsel to Plaintiff/Judgment
                                                           Creditor




                                                     3
                              CERTIFICATE OF SERVICE

       I, the undersigned, an attorney, state that I caused to be served the enclosed CITATION
TO DISCOVER ASSETS TO A THIRD PARTY and NOTICE OF CITATION TO
DISCOVER ASSETS TO A THIRD PARTY on the above named persons at the above stated
addresses by Certified Mail Return Receipt Requested on this 15th day of March 2021.

                                                                        /s/ Amrit S. Kapai
                                                                        Amrit S. Kapai




                                                  4
                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ROGER B. SIPPEY,                                      )
                                                      )
                               Plaintiff,             )
                                                      )
                                                      )       Case No. 18-cv-6744
                                                      )
       v.                                             )       Hon. Sheila M. Finnegan
                                                      )
COOPER TECHNICA, INC., and COOPER                     )
TECHNICA LIMITED PARTNERSHIP #2,                      )
                                                      )
                               Defendants.            )

                CITATION TO DISCOVER ASSETS TO A THIRD PARTY

To:    BMO Harris Bank of Chicago
       Attn: Legal Department
       111 West Monroe St.
       Chicago, IL 60603

        YOU ARE REQUIRED to either file your answer to this Citation on the form appearing
on the reverse side or appear on April 5, 2021 at 9:30 am at Goldstein & McClintock LLLP, 111
W. Washington, Suite 1221, Chicago, IL 60602.

         Judgment was entered on February 8, 2021, in favor of Plaintiff Roger B. Sippey and
against Defendants Cooper Technica, Inc. and Cooper Technica Limited Partnership #2 in this
court under case number 18-cv-6744 in the sum of $159,096.55. There is now due, less credit and
off-set, the sum of $159,096.55 (Judgment Balance). Further sums may become due as costs and
interests accrue.

       Your answer will inform the Court as to property you may hold belonging to (Judgement
Debtor).

        You are prohibited from making or allowing any transfer or other disposition of, or
interfering with, any property not exempt from the enforcement of a judgment, a deduction order
or garnishment, property belonging to the judgment debtor or to which s/he may be entitled or
which may thereafter be acquired by or become due to him or her, and from paying over or
otherwise disposing of any monies not so exempt, which are due to the judgment debtor. This
prohibition shall remain in effect until further order of court or termination of the proceeding. You
are not required to withhold the payment of any monies beyond double the amount of the total sum
due the judgment creditor.
           If the account consists solely of funds that can be identified as exempt under federal or
   state law, you are PROHIBITED from FREEZING THE ACCOUNT and YOU MUST RESPOND
   that the account consists solely of exempt funds. Deposited funds that are exempt under federal
   and state law include Social Security, SSI, veteran’s benefits, Railroad Retirement benefits, public
   assistance benefits, unemployment compensation benefits and/or circuit breaker property tax relief
   benefits.

   WARNING: Your failure to comply with the citation proceeding may result in a judgment being
   entered against you for the unsatisfied amount of this judgment. 735 ILCS 5/2-1402(f)(1).

   WARNING: Your failure to appear in court or file you answer as directed may cause you to be
   arrested and brought before the court to answer to a charge of contempt of court, which may be
   punishable by imprisonment in the county jail.

   YOU ARE COMMANDED to produce and permit inspection and copying of the following
   documents at the place, date and time specified above: See attached Rider. Documents due no
   later than March 29, 2021 and should be sent to:

                                 Goldstein & McClintock LLLP
                                 c/o Amrit S. Kapai
                                 111 W. Washington St., Suite 1221
                                 Chicago, IL 60602

                CERTIFICATION BY ATTORNEY FOR JUDGMENT CREDITOR

   Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil Procedure
   (735 ILCS 5/1-109), the undersigned certifies that the above information regarding the amount of
   the judgment, the date of the judgment, or its revival date, the balance due thereon, the name of
   the court and the number of the case is true and correct.


    By: /s/ Amrit S. Kapai

    Dan C. Curth
    Amrit S. Kapai
    Goldstein & McClintock LLLP 111
    W. Washington St., Suite 1221
    Chicago, Illinois 60602
    (312) 377-7700
    danc@goldmclaw.com
    amritk@goldmclaw.com

    Counsel to Plaintiff




THOMAS G. BRUTON, CLERK

                                                                             March 15, 2021

(By) DEPUTY CLERK                                       2                    DATE
                 ANSWER OF THIRD PARTY RESPONDENT CITATION

This first section must be filled out by the judgment creditor.

Citation/Respondent: BMO Harris Bank of Chicago
Defendant's Name: Cooper Technica, Inc. and Cooper Technica Limited Partnership #2
Case No.: 18-cv-6744
Judgment Balance: $159,096.55
Court Date: February 8, 2021

                  This is a Citation: Freeze up to double the Judgment Balance.

INTERROGATORIES
1. On the date of service of the citation, did you have in your possession, custody or control any
personal property or monies belonging to the judgment debtor? Yes/No
If the answer is "yes" go to the next question. If "no", go to the instructions.

2. Is this an IRA account? Or have all of the deposits made during the past 90 days been
electronically deposited and identified as exempt Social Security, Unemployment Compensation,
Public Assistance, Veteran's Benefits, Pension or Retirement or by a source drawing from any
other statutory exemptions? Yes/No
If the answer is "yes" go to the next question. If "no", go to the instructions.

3. Is/Are the account(s)' current balance(s) equal to or less than the total o the exempt deposits?
Yes/No

        If you answered "yes" to all three (3) questions and funds in the account(s) are exempt,
do not freeze the funds. Go to the "instructions" below.

4.                                    Account Balance                 Amount Withheld

A. Savings Account                    $_____________                  $_____________

B. Check/MMA/Now Account              $_____________                  $_____________

C. Certificate of Deposit             $_____________                  $_____________

D. Trust Account/Other                $_____________                  $_____________

(Describe)____________________________________________________________________

E. Safety Deposit Yes/No

F. Land Trust No. ________________________________




                                                     3
G. Less Right of Offset for Loans                                    $_____________

Total Amount Frozen:                                                 $_____________

5.    List all electronic deposits into account(s) and their source(s) except deposits:
Account No.           Source                                  Monthly Amount
_____________         ____________________________                   $_____________
_____________         ____________________________                   $_____________
_____________         ____________________________                   $_____________

6.     List all joint account holders or adverse claimants:

Name                                          Name
______________________                        ______________________

Address                                       Address
______________________                        ______________________

Account Information:                          Account Information:
Type: Checking/Savings/CD Savings             Type: Checking/Savings/CD Savings
Account Number:                               Account Number:

                                        INSTRUCTIONS

Deliver this Answer at least three (3) days before the court date to assure timely processing.
Complete the Answer of Third Party Respondent Citation section on this form.
Complete and sign the certification at the bottom of this page.

                                       CERTIFICATION

Under the penalties as provided by law pursuant to Section 1-109 of the code of Illinois Code of
Civil Procedure, the undersigned certifies that the statements set forth in this instrument are
true and correct and that I have mailed this Answer to Defendant(s).

Agent Name: ____________________
Agent Title: ____________________
Agent Signature: ____________________




                                                     4
                    RIDER TO CITATION TO DISCOVER ASSETS TO
                              BMO HARRIS BANK N.A.
Definitions

As used herein, the following terms shall have the meanings indicated:

       A.       “Document(s)” shall mean any written, recorded, electronic or graphic matter,
however produced or reproduced. If a document has been prepared in several copies or additional
copies have been made, and the copies are not identical, each non-identical copy is a separate
document. The term document(s) includes, but is not limited to, the following: agreements,
contracts, correspondence, electronic correspondence, letters, telegrams, wires, cables, reports,
schedules, diaries, statements, photographs, reproductions, maps, surveys, drawings, blueprints,
sketches, charts, models, invoices, purchase orders, ledgers, journals, checks (front and back),
check stubs, notes, estimates, summaries, desk calendars, work papers, business forms, studies,
appointment books, timesheets, logs, inventories, printouts, computer disks, recordings, minutes
of meetings and memoranda, including intercorporate, intracorporate, interoffice and intraoffice
memoranda, and memoranda regarding conferences, conversations or telephone conversations and
any and all other written, printed, typed, punched or recorded matter of whatsoever kind or
description, including drafts of the foregoing.

         B.     The terms “related to,” “regarding,” “pertaining to,” or any similar phrase shall
mean pertinent, relevant or material to, evidencing, constituting, summarizing, reflecting, growing
out of, arising from, relevant to, having a bearing or concern upon, or pertaining to, associated
with, responding to, concerning, affecting, discussing, referring to, dealing or standing in some
relationship with, in any manner whatsoever, the object, subject, topic, fact, allegation, person,
entity, event or noun which follows that term or phrase or which appears in these discovery
requests. This includes, without limitation, all documents which contain, describe, analyze, record,
reflect, summarize, evaluate, comment upon, transmit, discuss, pertain to, or mention the subject
matter of any document request, as well as drafts, work papers, or other preparation materials,
exhibits shown or circulated at any meeting, and the text or notes of any oral or written presentation
or conversation.

       C.       “And” and “or” are to be considered both conjunctively and disjunctively. The
singular of a noun or pronoun includes the plural form and vice versa; the word “all” also includes
“each” and vice versa; “any” is understood to include and encompass “all.”
                                           Documents

        Unless otherwise stated, the time frame for the following document requests shall be on or
after January 1, 2018, through the date of production hereunder. The Judgment Debtors against
whom this Citation to Discover Assets relates are Cooper Technica, Inc. and Cooper Technica
Limited Partnership #2. You are required by this Citation to Discover Assets to produce, at the
time and at the place indicated hereon, the following documents in your possession, custody or
control which Cooper Technica, Inc. and/or Cooper Technica Limited Partnership #2 have any
interest in:

       1.      Any and all bank statements for accounts, including, but not limited, to checking
accounts, savings accounts, investment accounts, certificates of deposits and money market funds,
regardless of whether such accounts are currently open, in the name of Cooper Technica, Inc.
and/or Cooper Technica Limited Partnership #2.

       2.      Any and all bank statements for accounts, including, but not limited, to checking
accounts, savings accounts, investment accounts, certificates of deposits and money market funds,
regardless of whether such accounts are currently open, which Cooper Technica, Inc. and/or
Cooper Technica Limited Partnership #2 have an interest in.

       3.      Any and all documents related to any withdrawals or transfers of funds from all
accounts in the name of Cooper Technica, Inc. and/or Cooper Technica Limited Partnership #2.

        4.     Any and all documents evidencing or referencing any loan or security agreements
listing Cooper Technica, Inc. and/or Cooper Technica Limited Partnership #2 as either the creditor,
debtor or assignee during the past five (5) years.

        5.     All documents and records pertaining to any funds, monies or to other property
(tangible or intangible) belonging to Cooper Technica, Inc. and/or Cooper Technica Limited
Partnership #2 which is held in escrow.

       6.    Any and all such information, documents and items you have in your possession
regarding Cooper Technica, Inc. and/or Cooper Technica Limited Partnership #2.
